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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                               SOUTHEASTERN DIVISION


CHRISTOPHER COLLINS,                               )
                                                   )
               Plaintiff,                          )
                                                   )
         vs.                                       )      Case No. 1:21-CV-00120 JAR
                                                   )
AGRIUM, U.S., INC.,                                )
                                                   )
               Defendant.                          )

                                  ORDER OF DISMISSAL

       Pursuant to Defendant’s Stipulation for Dismissal with Prejudice (Doc. No. 20),

       IT IS HEREBY ORDERED that this case is DISMISSED with prejudice.



Dated this 4th day of January, 2022.




                                               JOHN A. ROSS
                                               UNITED STATES DISTRICT JUDGE
